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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                 Chapter 11

         ALAMO DRAFTHOUSE CINEMAS                               Case No. 21-10474 (MFW)
         HOLDINGS, LLC, et al.,
                                                                (Jointly Administered)
                                      Debtors.
                                                                Ref. Docket No. 1225


                            ORDER SCHEDULING OMNIBUS HEARING DATE

                        Pursuant to Del. Bankr. L.R. 2002-1(a), this Court has scheduled the following

         omnibus hearing date in the above-captioned proceeding:


                                     June 30, 2022 at 11:30 a.m. (ET)




        Dated: May 24th, 2022                               MARY F. WALRATH
        Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE

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